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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                     LONDON

 UNITED STATES OF AMERICA,                       )
                                                 )             6:11-cr-36-GFVT-HAI-9
        Plaintiff/Respondent,                    )            6:13-cv-7308-GFVT-HAI
                                                 )
 V.                                              )
                                                 )          MEMORANDUM OPINION
 JOSH TERRY,                                     )                  &
                                                 )                ORDER
        Defendant/Movant.                        )




                                       *** *** *** ***

       This matter is before the Court upon Movant Josh Terry’s pro se petition to vacate, set

aside, or correct his sentence pursuant to 28 U.S.C. § 2255. [R. 505.] Consistent with local

practice, this matter was referred to Magistrate Judge Hanly A. Ingram, who filed a

Recommended Disposition recommending that Terry’s motion be denied. [R. 598.]

       Under Federal Rule of Civil Procedure 72(b)(2), a petitioner has fourteen days after

service to register any objections to the Report and Recommendation or else waive his rights to

appeal. In order to receive de novo review by this Court, any objection to the recommended

disposition must be specific. Mira v. Marshall, 806 F.2d 636, 637 (6th Cir. 1986). A specific

objection “explain[s] and cite[s] specific portions of the report which [counsel] deem[s]

problematic.” Robert v. Tesson, 507 F.3d 981, 994 (6th Cir. 2007). A general objection that

fails to identify specific factual or legal issues from the Recommendation, however, is not

permitted, since it duplicates the Magistrate’s efforts and wastes judicial economy. Howard v.

Secretary of Health and Human Services, 932 F.2d 505, 509 (6th Cir. 1991).
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       Defendant Terry filed timely objections to the Recommended Disposition. [R. 605; see

also R. 604.] Many of his objections lack clarity and are not sufficiently specific under the

above criteria. However, the Court acknowledges its duty to review Terry’s filings under a more

lenient standard than the one applied to attorneys, because Terry is proceeding pro se. See

Franklin v. Rose, 765 F.2d 82, 84-85 (6th Cir. 1985). Under this more lenient construction,

some of the objections are sufficiently definite to trigger the Court’s obligation to conduct a de

novo review. See U.S.C. § 636(b)(1)(c). The Court has satisfied that duty, reviewing the entire

record, including the pleadings, the parties’ arguments, relevant case law and statutory authority,

as well as applicable procedural rules. For the following reasons, Terry’s objections will be

OVERRULED.

                                                 I

       Judge Ingram’s Recommended Disposition accurately sets forth the factual and

procedural background of the case. The Court mentions the below key facts to frame its

discussion and analysis, but, overall, chooses to incorporate Judge Ingram’s discussion of the

record into this Order.

       Mr. Josh Terry was indicted, along with fourteen co-defendants, for conspiring to

distribute oxycodone in violation of 21 U.S.C. §841(a)(1) and 21 U.S.C. § 846. Per a notice filed

pursuant to 21 U.S.C. § 851, Terry faced an enhanced penalty of no more than thirty years of

imprisonment, a $2,000,000.00 fine, and at least six years of supervised release. See 21 U.S.C. §

841(b)(1)(C); [R. 279.] After Terry filed a motion for rearraignment, the undersigned held a

rearraignment proceeding with Terry on July 12, 2012. At this proceeding, Terry indicated his

desire to enter into a binding plea agreement with a sentence of 188 months. Terry also indicated

he understood that he was waiving his appeal rights. Subsequently, on October 31, 2012, the



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undersigned conducted Terry’s sentencing proceeding, at which the binding plea agreement was

accepted without objection and Terry was sentenced to a 188 month term of incarceration.

       On September 13, 2013, Terry filed the instant motion for § 2255 relief. [R. 505.] As

Judge Ingram explained in the Recommended Disposition, Terry’s motion asserts essentially five

grounds for relief: (1) Terry argues he unintelligently and unknowingly entered into the plea

agreement; (2) ineffective assistance of counsel regarding Terry’s entry into the plea agreement;

(3) error on behalf of the District Court when it sentenced Terry to certain enhancements; (4)

ineffective assistance of counsel surrounding sentencing; and (5) ineffective assistance of

counsel for failing to file a direct appeal at Terry’s request. Judge Ingram held an evidentiary

hearing on the fifth ground on January 14, 2015, which is discussed at length in the

Recommended Disposition.

                                                 II

       Liberally construing Terry’s objections to Judge Ingram’s Recommended Disposition, the

Court finds four objections which may be considered specific. See U.S.C. § 636(b)(1)(c); Mira,

806 F.2d at 637. First, Terry cites to an October 14, 2014, Department of Justice memorandum,

which asks federal prosecutors to forego seeking a waiver of claims for ineffective assistance of

counsel in proposed plea agreements. [R. 605 at 2-3.] Terry appears to believe that the

Department of Justice policy statement has an impact on his § 2255 case and somehow nullifies

the Magistrate’s recommendations regarding his ineffective assistance of counsel claims. Terry

misunderstands the nature of both the Department of Justice memorandum and the

Recommended Disposition. To begin, the plea agreement entered into by Terry states that, by

entering the agreement, Terry waived “the right to appeal and the right to attack collaterally the

guilty plea, conviction, and sentence, including any order of restitution.” [R. 435 at ¶ 6.] This



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language does not explicitly preserve Terry’s right to bring ineffective assistance of counsel

claims; however, the Magistrate’s Recommended Disposition is not in conflict with the

Department of Justice policy statement, which, in any event, is not binding on judges but instead

serves as a guide for federal prosecutors. Judge Ingram appropriately considered the merits of

Terry’s ineffective assistance of counsel claims, investigating the extent to which defense

counsel’s representation may have affected the validity of the plea agreement. [R. 598 at 9-12.]

The Department of Justice memorandum cited in Terry’s objections does not affect the Court’s

resolution of his habeas petition, and, thus, that objection should be overruled.

       Next, Terry notes his objection to the Magistrate’s analysis of his ineffective assistance of

counsel during plea negotiations claim, expressing a desire to rely on a pair of “new” Supreme

Court cases regarding ineffective assistance of counsel, Missouri v. Frye, 132 S. Ct. 1399 (2012),

and Lafler v. Cooper, 132 S. Ct. 1376 (2012). Terry explains these two cases “established the

precedent that the Sixth Amendment right to counsel applies at the ‘critical stage’ of plea

negotiations.” [R. 605 at 8.] A defendant’s Sixth Amendment right to counsel does, in fact,

extend to the plea-bargaining process. See Frye, 132 S. Ct. at 1386-87; Lafler, 132 S. Ct. at

1384. However, Terry’s objection is not well taken because Judge Ingram clearly recognized

this right and considered whether Terry’s rights at the plea bargaining stage of the case were

abridged in any way. [R. 598 at 9-12.] Judge Ingram ultimately concluded that Terry had not

presented sufficient facts to overcome the “strong presumption that counsel’s conduct falls

within the wide range of reasonable professional assistance.” [Id. at 11 (quoting Strickland v.

Washington, 466 U.S. 668, 698 (1984).] Ultimately, the Recommended Disposition is not

inconsistent with Missouri v. Frye or Lafler v. Cooper; therefore, this objection is properly

overruled.



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         Third, Terry states additional facts about the plea negotiations, in an attempt to provide a

stronger factual basis for his ineffective assistance of counsel claim. 1 Judge Ingram noted that

Terry had not specifically alleged how his defense counsel was constitutionally deficient during

plea negotiations and explained that “[w]hen a petitioner files a § 2255 motion, he must set forth

facts entitling him to relief.” [R. 598 at 11 (emphasis added).] In his objections, Terry states:

“During plea negotiations, the Defendant was impaired with perceived threats to his dad (Donald

W. Terry) and his disabled-wife.” [See R. 605 at 8.] While this factual basis is more than

existed before, it is still insufficient to make out a successful ineffective assistance of counsel

claim. Terry’s “perceived threats” were not mentioned in Terry’s original motion. [R. 505-1.]

Terry did not discuss any threats or other pressures with the Court during the plea colloquy at

rearraignment, even when specifically asked by the Court whether he was pleading guilty under

his own free will. [See R. 544 at 10.] Finally, Terry does not explain how the perceived threats

affected either his counsel’s representation or his own decision to enter into the binding plea

agreement. This one fact, without further support or explanation, is insufficient to prove

ineffective assistance of counsel or that his plea was entered into involuntarily.

         Last, Terry argues he was denied effective assistance of counsel because his lawyer had a

conflict of interest. [R. 605 at 13-15 (citing Cuyler v. Sullivan, 446 U.S. 335 (1980).] Terry,

however, has not proven such a conflict of interest actually existed. Included in his objections to

the Recommended Disposition are excerpts from the sentencing transcript, wherein both parties’

counsel addresses when Terry was first taken into federal custody. [Id. at 14.] These excerpts do

not establish or even hint of a conflict of interest on the part of Terry’s attorney. Terry then



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  Terry brings this objection under the heading “II. The Defendant objects to ineffective assistance of counsel
(“IAD”) during plea negotiations.” [R. 605 at 7-8.] The objection seems to more properly relate to the validity of
the plea agreement, so the Court considers both.

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provides an account of information about what his counsel supposedly knew of Terry’s previous

state drug court violation. [Id. at 15.] Nothing in that account, or in Terry’s objections on the

whole, establishes the existence of a conflict of interest. Further, this assertion is less of an

objection to the Magistrate’s recommendation and more of a new claim for relief altogether.

“[U]ntil a defendant shows that his counsel actively represented conflicting interests, he has not

established the constitutional predicate for his claim of ineffective assistance.” Cuyler, 446 U.S.

at 350 (citing Glasser v. United States, 315 U.S. 60, 72-75 (1942)). The record does indicate

defense counsel suffered from conflicting interests when he represented Terry; accordingly, this

objection is also properly overruled.

                                                  III

       In conclusion, after reviewing de novo the entire record, as well as the relevant case law

and statutory authority, the Court agrees with Judge Ingram’s analysis of Terry’s claims. The

Court also denies a certificate of appealability pursuant to 28 U.S.C. § 2253(c) as to each issue

asserted. Under Rule 11 of the Federal Rules Governing § 2255 Proceedings, the “district court

must issue or deny a certificate of appealability when it enters a final order adverse to the

applicant . . .” Rules Governing Section 2255 Proceedings, Rule 11. A certificate of

appealability may issue “only if the applicant has made a substantial showing of the denial of a

constitutional right.” 28 U.S.C. § 2253(c)(2). As set forth by the United States Supreme Court,

this standard requires the petitioner to “demonstrate that reasonable jurists would find the district

court’s assessment of the constitutional claims debatable or wrong.” Slack, 529 U.S. at 484; see

also Miller-El v. Cockrell, 537 U.S. 322, 336 (2003). Under this standard, the Court believes

that this Order, which adopts and incorporates by reference the Magistrate Judge’s




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Recommendation, is not debatable enough to issue a certificate of appealability. Accordingly,

and the Court being otherwise sufficiently advised, it is hereby ORDERED as follows:

       1.      Defendant/Movant Terry’s objections to the Recommended Disposition [R. 605]

are OVERRULED;

       2.      The Magistrate Judge’s Recommended Disposition [R. 598] is ADOPTED as and

for the opinion of this Court;

       3.      The Defendant’s § 2255 Petition [R. 505] is DISMISSED WITH PREJUDICE;

       4.      A Certificate of Appealability is DENIED as to all issues raised by the

Defendant; and

       5.      JUDGMENT in favor of the Respondent will be entered contemporaneously

herewith.

       This the 15th day of March, 2016.




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